Exhibit 1
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

FITNESS ANYWHERE LLC,
                                                     Case No. 19-cv-04155
               Plaintiff,
                                                     Judge John Z. Lee
v.
                                                     Magistrate Judge Sheila M. Finnegan
95SP_KK, et al.,
               Defendants.


        PLAINTIFF’S FIRST SET OF INTERROGATORIES TO DEFENDANTS

       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff Fitness

Anywhere LLC (“TRX” or “Plaintiff”), by and through its counsel, hereby request that each of the

Defendants identified herein respond to the following interrogatories, fully, in writing and under

oath within five (5) business days of receipt hereof pursuant to Paragraph 2 of the Preliminary

Injunction Order [38], in accordance with the following definitions and instructions, and serve

such responses on Plaintiff’s counsel at the office of Greer, Burns & Crain, Ltd., 300 South Wacker

Drive, Suite 2500, Chicago, Illinois, 60606.
                                     INTERROGATORIES

   Interrogatory 1:

Identify Yourself, including, but not limited to, identifying the owner(s) and/or operator(s) of:

   a. Defendants’ Internet Stores;

   b. Defendants’ Financial Accounts.

       Interrogatory 2:

Identify each and every domain name or online marketplace account Used by You, or anyone

identified in Your response to Interrogatory No. 1.

       Interrogatory 3:

Identify any Financial Accounts which receive payments or hold assets for Defendants, or anyone

identified in Your response to Interrogatory No. 1.

       Interrogatory 4:

Identify all persons, other than counsel, who participated, or were consulted, in responding to these

Interrogatories.




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                              DEFINITIONS AND INSTRUCTIONS

         In addition to the definitions and instructions set forth in Fed. R. Civ. P. 33, the following

definitions and instructions apply to the interrogatories set forth below and should be considered

as part of each such interrogatory:

         1.     As used herein, “Defendant” shall include each of the following Internet Stores

identified by the Internet Store Name and URL.


   No.                              URL                                     Internet Store Name
     1    ebay.com/usr/95sp_kk                                            95sp_kk
     3    ebay.com/usr/angela.liang                                       angela.liang
    12    aliexpress.com/store/3624054                                    BrotherSports Store
    13    aliexpress.com/store/4499133                                    Constant Fitness Store
    16    aliexpress.com/store/3375044                                    DLINE Store
                                                                          DOUBLE FISH Official
    17 aliexpress.com/store/3569003                                       Store
                                                                          Evoke Fitness Industries
    20 evokefitness.en.alibaba                                            Co., Ltd.
                                                                          FAVSPORTS Store
    21 aliexpress.com/store/3861104
                                                                          fit & healthy sportsmall
    22 aliexpress.com/store/4423151                                       store
                                                                          FUJIAN C-long Flly
    24    wish.com/merchant/55a7ba850e8245404e2c5f16                      Co.,Ltd
    26    ebay.com/usr/gabswy0                                            gabswy0
    27    aliexpress.com/store/4246040                                    Geakbros Outdoor Store
    30    aliexpress.com/store/1955590                                    H -OFICIAL Store
                                                                          hou1win2
    32 ebay.com/usr/hou1win2
                                                                          I love with fitness
    33 aliexpress.com/store/1292408                                       franchised store
                                                                          ITSTYLE Official Store
    34 aliexpress.com/store/4506011
                                                                          ItStyle Store
    35 aliexpress.com/store/102554
                                                                          JIEXING Store
    37 aliexpress.com/store/3200022
                                                                          JNJ outdoors Store
    38 aliexpress.com/store/1197960
                                                                          KINJAZ H-life Store
    39 aliexpress.com/store/2937052


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                                                          LAY Store
42 aliexpress.com/store/3083019
                                                          LuLu Fitness Store
46 aliexpress.com/store/2666028
                                                          Mask 2.0 Store
47 aliexpress.com/store/913346
                                                          MWILLFIT Store
49 aliexpress.com/store/4272028
                                                          Nantong Guli Fitness Co.,
50 gulifitness.en.alibaba                                 Ltd.
                                                          Nantong Titanium
51 titanium-strength.en.alibaba                           Strength Systems Co., Ltd.
                                                          newyoutube
52 ebay.com/usr/newyoutube
                                                          NF Fitness Store
53 aliexpress.com/store/2386042
                                                          nxr867
54 ebay.com/usr/nxr867
                                                          omagax
55 ebay.com/usr/omagax
                                                          Outdoor Sporting Store
57 aliexpress.com/store/510608
                                                          pengroad store
58 aliexpress.com/store/4477039
                                                          Shenzhen Gymarts
                                                          Technology Company
62 gymarts.en.alibaba                                     Limited
                                                          Shop1194162 Store
63 aliexpress.com/store/1194162
                                                          Shop1211066 Store
64 aliexpress.com/store/1211066
                                                          Shop3714012 Store
65 aliexpress.com/store/3714012
                                                          Shop4619004 Store
67 aliexpress.com/store/4619004
                                                          Shop4660051 Store
68 aliexpress.com/store/4660051
                                                          Storm Wind
71 aliexpress.com/store/1757545
                                                          swellfish01-1
72 ebay.com/usr/swellfish01-1
   aliexpress.com/store/4404035?spm=2114.10010108.0.0.3   TAVIEW FIT Store
73 03f665fX8IrfS
                                                          tmall-offical
77 ebay.com/usr/tmall-offical
                                                          unicornltd08
80 ebay.com/usr/unicornltd08
                                                          Visionarytech
81 ARDFTB7OCMAFM
                                                          win.max-sport
84 ebay.com/usr/win.max-sport
                                                          xx28 you store
85 aliexpress.com/store/4441024
                                                          Yutonglong-us
94 A29Q9M72CS1IS0



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        2.      These interrogatories are addressed to each Defendant listed in Paragraph 1 and (a)

its present or former directors, officers, employees, agents, representatives, accountants,

investigators, consultants, attorneys, and predecessors or successors in interest and any parent,

subsidiary, or affiliated entities; (b) any other person acting on Defendants’ behalf or on whose

behalf Defendants acted; and (c) any other person otherwise controlled by Defendants, or which

controls Defendants, or which is under common control with Defendant.

        3.      If you find the meaning of any term in these interrogatories to be unclear, you

should assume a reasonable meaning, state what that meaning is and respond to the interrogatory

on the basis of that assumed meaning.

        4.      If you object to any subpart or portion of an interrogatory or object to identifying

the documents, electronically stored information, or things requested, set forth fully the grounds

upon which your objection is based and answer the unobjectionable subpart(s) of the interrogatory

and/or supply the documents, electronically stored information, or things in lieu of identifying the

same.

        5.      Where an objection is made to an interrogatory, state all grounds upon which the

objection is based, along with a citation of any legal authority relied upon.

        6.      These interrogatories shall be deemed continuing so as to require further and

supplemental responses in accordance with Fed. R. Civ. P. 26.

        7.      “Communication” shall include all exchanges of information, written or oral,

including without limitation, memoranda, telephone conversations, electronic mail, computer

discs, documents, and telegrams.

        8.       “Document” is defined broadly to be given the full scope of that term contemplated

in Fed. R. Civ. P. 34, and includes all tangible things, all originals (or, if originals are not available,



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identical copies thereof), all non-identical copies of a document, all drafts of final documents, all

other written, printed, or recorded matter of any kind, and all other data compilations from which

information can be obtained and translated if necessary, that are or have been in your actual or

constructive possession or control, regardless of the medium on which they are produced,

reproduced, or stored (including without limitation computer programs and files containing

requested information), and any recording or writing, as these terms are defined in Rule 1001,

Federal Rules of Evidence. Any document bearing marks, including without limitation, initials,

stamped initials, comments, or notations not a part of the original text or photographic reproduction

thereof, is a separate document.

       9.      “Document” shall also include, without limitation, the following items, whether

printed or reproduced by any process, or written or produced by hand or stored electronically in

computer memory, magnetic or hard disk, or other storage medium, and whether or not claimed to

be privileged, confidential, or otherwise excludable from discovery: any record of all or any

portions of any discussion, communication, agreement, conversation, interview, meeting,

conference, conclusion, fact, impression, occurrence, opinion, report, or other similar matter, and

shall include, without limitation, letters, correspondence, communications, emails, telegrams,

papers, cablegrams, mailgrams, notes, memoranda, summaries, abstracts, worksheets, books,

manuals, publications, engineering reports and notebooks, schematics, engineering drawings,

software source code listings, charts, plans, databases, diagrams, sketches or drawings,

photographs, reports and/or summaries of investigations and/or surveys, opinions and reports of

committee meetings, desk calendars, appointment books, diaries, diary entries, voicemails,

newspapers, magazine or periodical articles, and any other record of any kind.

       10.     The term “identify,” when used in reference to:



                                                 6
a. an individual shall mean to state his or her full name, present or last

   known residence address, present or last known business address, and

   position or business affiliation;

b. a business entity shall mean to state its form, full name, address of its

   present or last principal place of business, and its principal line of

   business;

c. a document shall mean to provide information sufficient to locate that

   document, including, but not limited to, the following: the production

   number range (Bates range), the date appearing on such document or, if

   no date appears thereon, the approximate date the document was

   prepared; the identifying code number, file number, title or label of such

   document; a general description of such document (e.g., letter,

   memorandum, drawing); the title or heading; the number of pages of

   which such document consists; the name of each person who signed,

   authored, or authorized the document; the name of each addressee; the

   name of each person having possession, custody, or control of such

   document; if the document existed at one time but does not presently

   exist, the reason(s) why it no longer exists and the identity of the last

   person having custody of it; and if the document is in a foreign language,

   whether an English translation of the document exists, whether partial or

   complete; and




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                      d. a communication shall mean to state its date, the communicator, the

                          communicatee, the type of communication (i.e. conversation, telephone

                          call, letter, note, etc.) and a brief description of its subject matter.

       11.     “Person” shall mean individuals or entities of any type, including without

limitation, individuals, governments (or any agencies thereof), quasi-public entities, corporations,

partnerships, limited liability companies, groups, trusts, mutual or joint ventures, and other forms

of organizations or associations.

       12.     “Date” shall mean the exact date, month and year or, if not ascertainable, the best

approximation thereof.

       13.     The phrase “relating to”, “related to”, or “relate(s) to” means and includes

concerning, reflecting, alluding to, mentioning, regarding, discussing, bearing upon, commenting

on, constituting, pertaining to, demonstrating, describing, depicting, referring to, summarizing,

containing, embodying, showing, comprising, evidencing, refuting, contradicting, and/or

supporting.

       14.     As used herein, “Plaintiff” shall mean, unless otherwise indicated, Fitness

Anywhere LLC, any of Plaintiff’s officers, directors, employees, agents and representatives, and

all persons acting on Plaintiff’s behalf.

       15.     As used herein, “Defendants’ Internet Stores” shall be deemed to include the online

marketplaces listed in Paragraph 1.

       16.     As used herein, “Defendant” or “Defendants” or “You” or “Your” or “Yourself”

shall be deemed to include the named owner(s) and/or operator(s) of Defendants’ Internet Store

and Defendants’ PayPal Account, and (a) its present or former directors, officers, employees,

agents, representatives, accountants, investigators, consultants, contractors, attorneys, and



                                                   8
predecessors or successors in interest and any parent, subsidiary, or affiliated entities; (b) any other

person acting on Defendants’ behalf or on whose behalf Defendants acted; and (c) any other person

otherwise controlled by Defendants, or which controls Defendants, or which is under common

control with Defendant.

        17.       As used herein, “Financial Accounts” shall be deemed to include any accounts

 relating to any banks, savings and loan associations, payment processors or other financial

 institutions, including, without limitation, Western Union, Alipay, and PayPal, Inc. (“PayPal”),

 or other merchant account providers, payment providers, third party payment processors, and

 credit card associations (e.g., MasterCard and Visa Inc.) which receive payments or hold assets

 for Defendant.

        18.       As used herein, “Used” shall mean registered, owned, and/or operated.

        19.       “Lawsuit” or “Litigation” shall mean the lawsuit captioned Fitness Anywhere LLC

 v. The Partnerships, et al., Case No. 19-cv-4155, filed on June 20, 2019, in the U.S. District Court

 for the Northern District of Illinois.

        20.       “Complaint” shall mean the Complaint and Amended Complaint filed by Plaintiff

in the Lawsuit.

        21.       The singular form of a word should be interpreted in the plural as well. Any pronoun

shall be construed to refer to the masculine, feminine, or neuter gender as in each case is most

appropriate. The words “and” and “or” shall be construed conjunctively or disjunctively,

whichever makes the request most inclusive.




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Dated this 11th day of September 2019.   Respectfully submitted,


                                         /s/ Justin R. Gaudio
                                         Paul G. Juettner
                                         Justin R. Gaudio
                                         RiKaleigh C. Johnson
                                         Greer, Burns & Crain, Ltd.
                                         300 South Wacker Drive, Suite 2500
                                         Chicago, Illinois 60606
                                         312.360.0080
                                         312.360.9315 (facsimile)
                                         pjuettner@gbc.law
                                         jgaudio@gbc.law
                                         rjohnson@gbc.law

                                         Counsel for Plaintiff Fitness Anywhere LLC




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 11th day of September 2019, a copy of the foregoing was served

via electronic mail on the e-mail addresses identified in Exhibit 2 to the Declaration of Marisa

Christie and any e-mail addresses provided for Defendants by third parties.

                                             /s/ Justin R. Gaudio
                                             Paul G. Juettner
                                             Justin R. Gaudio
                                             RiKaleigh C. Johnson
                                             Greer, Burns & Crain, Ltd.
                                             300 South Wacker Drive, Suite 2500
                                             Chicago, Illinois 60606
                                             312.360.0080
                                             312.360.9315 (facsimile)
                                             pjuettner@gbc.law
                                             jgaudio@gbc.law
                                             rjohnson@gbc.law

                                             Counsel for Plaintiff Fitness Anywhere LLC




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

FITNESS ANYWHERE LLC,
                                                     Case No. 19-cv-04155
               Plaintiff,
                                                     Judge John Z. Lee
v.
                                                     Magistrate Judge Sheila M. Finnegan
95SP_KK, et al.,
               Defendants.


        PLAINTIFF’S FIRST SET OF REQUESTS FOR THE PRODUCTION OF
                 DOCUMENTS AND THINGS TO DEFENDANTS

       Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff Fitness

Anywhere LLC (“TRX” or “Plaintiff”), by and through its counsel, hereby requests each of the

Defendants herein to produce each of the documents identified and described below for inspection

and copying at the office of Greer, Burns & Crain, Ltd., 300 South Wacker Drive, Suite 2500,

Chicago, Illinois, 60606 within five (5) business days of receipt hereof pursuant to paragraph 2 of

the Preliminary Injunction Order. [38] at ¶ 2.
            REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS

       Request No. 1.          Documents, electronically stored information, and things sufficient

to show the costs, cost allocations, revenues, and profits of Defendants for the last 5 years.

       Request No. 2.          Documents, electronically stored information, and things relating to

each and every purchase that Defendants have made relating to Plaintiff’s Products, including, but

not limited to, records of the specific products or goods purchased, records of the sale price of the

specific products or goods purchased, images of the corresponding products or goods, records of

the supplier or manufacturer that the specific products or goods were purchased from, a record of

steps taken by Defendants to determine whether such products or goods were new or genuine,

records of any investigation notes regarding the purchase, and the identity of the person or persons

responsible for investigating any alleged infringement related to the purchase.




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                              DEFINITIONS AND INSTRUCTIONS

         In addition to the definitions and instructions set forth in Fed. R. Civ. P. 34, the following

definitions and instructions apply to the Requests for the Production of Documents and Things

(individually, “Request,” and collectively, “Requests”) set forth below and should be considered

as part of each such Request:

         1.     As used herein, “Defendant” shall include each of the following Internet Stores

identified by the Internet Store Name and URL.


   No.                              URL                                     Internet Store Name
     1    ebay.com/usr/95sp_kk                                            95sp_kk
     3    ebay.com/usr/angela.liang                                       angela.liang
    12    aliexpress.com/store/3624054                                    BrotherSports Store
    13    aliexpress.com/store/4499133                                    Constant Fitness Store
    16    aliexpress.com/store/3375044                                    DLINE Store
                                                                          DOUBLE FISH Official
    17 aliexpress.com/store/3569003                                       Store
                                                                          Evoke Fitness Industries
    20 evokefitness.en.alibaba                                            Co., Ltd.
                                                                          FAVSPORTS Store
    21 aliexpress.com/store/3861104
                                                                          fit & healthy sportsmall
    22 aliexpress.com/store/4423151                                       store
                                                                          FUJIAN C-long Flly
    24    wish.com/merchant/55a7ba850e8245404e2c5f16                      Co.,Ltd
    26    ebay.com/usr/gabswy0                                            gabswy0
    27    aliexpress.com/store/4246040                                    Geakbros Outdoor Store
    30    aliexpress.com/store/1955590                                    H -OFICIAL Store
                                                                          hou1win2
    32 ebay.com/usr/hou1win2
                                                                          I love with fitness
    33 aliexpress.com/store/1292408                                       franchised store
                                                                          ITSTYLE Official Store
    34 aliexpress.com/store/4506011
                                                                          ItStyle Store
    35 aliexpress.com/store/102554
                                                                          JIEXING Store
    37 aliexpress.com/store/3200022
                                                                          JNJ outdoors Store
    38 aliexpress.com/store/1197960


                                                   3
                                                          KINJAZ H-life Store
39 aliexpress.com/store/2937052
                                                          LAY Store
42 aliexpress.com/store/3083019
                                                          LuLu Fitness Store
46 aliexpress.com/store/2666028
                                                          Mask 2.0 Store
47 aliexpress.com/store/913346
                                                          MWILLFIT Store
49 aliexpress.com/store/4272028
                                                          Nantong Guli Fitness Co.,
50 gulifitness.en.alibaba                                 Ltd.
                                                          Nantong Titanium
51 titanium-strength.en.alibaba                           Strength Systems Co., Ltd.
                                                          newyoutube
52 ebay.com/usr/newyoutube
                                                          NF Fitness Store
53 aliexpress.com/store/2386042
                                                          nxr867
54 ebay.com/usr/nxr867
                                                          omagax
55 ebay.com/usr/omagax
                                                          Outdoor Sporting Store
57 aliexpress.com/store/510608
                                                          pengroad store
58 aliexpress.com/store/4477039
                                                          Shenzhen Gymarts
                                                          Technology Company
62 gymarts.en.alibaba                                     Limited
                                                          Shop1194162 Store
63 aliexpress.com/store/1194162
                                                          Shop1211066 Store
64 aliexpress.com/store/1211066
                                                          Shop3714012 Store
65 aliexpress.com/store/3714012
                                                          Shop4619004 Store
67 aliexpress.com/store/4619004
                                                          Shop4660051 Store
68 aliexpress.com/store/4660051
                                                          Storm Wind
71 aliexpress.com/store/1757545
                                                          swellfish01-1
72 ebay.com/usr/swellfish01-1
   aliexpress.com/store/4404035?spm=2114.10010108.0.0.3   TAVIEW FIT Store
73 03f665fX8IrfS
                                                          tmall-offical
77 ebay.com/usr/tmall-offical
                                                          unicornltd08
80 ebay.com/usr/unicornltd08
                                                          Visionarytech
81 ARDFTB7OCMAFM
                                                          win.max-sport
84 ebay.com/usr/win.max-sport
                                                          xx28 you store
85 aliexpress.com/store/4441024
                                                          Yutonglong-us
94 A29Q9M72CS1IS0

                                      4
       2.      These Requests are addressed to each Defendant listed in Paragraph 1 and (a) its

present or former directors, officers, employees, agents, representatives, accountants,

investigators, consultants, attorneys, and predecessors or successors in interest and any parent,

subsidiary, or affiliated entities; (b) any other person acting on Defendants’ behalf or on whose

behalf Defendants acted; and (c) any other person otherwise controlled by Defendants, or which

controls Defendants, or which is under common control with Defendant.

       3.      If you find the meaning of any term in these Requests to be unclear, you should

assume a reasonable meaning, state what that meaning is and respond to the Request on the basis

of that assumed meaning.

       4.      If you object to any subpart or portion of a Request or object to providing the

documents, electronically stored information, or things requested, set forth fully the grounds upon

which your objection is based and answer the unobjectionable subpart(s) of the Request and/or

supply the documents, electronically stored information, or things to which no objection is made.

       5.      Documents, electronically stored information, and things under your control must

be produced even though they are in the possession of an employee or agent of yours, such as an

accountant, attorney, or other person from whom you have a right to retrieve the documents,

electronically stored information, or things.

       6.      If any document, electronically stored information, or thing requested by Plaintiff

cannot be produced in full after exercising due diligence to secure the document, electronically

stored information, or thing, produce whatever portion of the document, electronically stored

information, or thing remains and state whatever information, knowledge or belief you have

concerning the unproduced portion. If your response is qualified in any particular respect, set forth

the details of such qualification.


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       7.      For any document, electronically stored information, or thing responsive to any

request set forth below that Defendants seek to withhold under a claim of privilege, Defendants

shall redact the information being withheld for privilege and indicate the location of the redacted

information on or in the produced document, electronically stored information, or thing. For each

document, electronically stored information, thing, or part thereof withheld under a claim of

privilege or for any other reason, Defendants shall state:

               a.      that such material is being withheld;

               b.      the name and title of all person(s) who possessed or controlled the

                       document, electronically stored information, or thing;

               c.      a brief description of the nature and subject matter of the document,

                       electronically stored information, or thing, including the title and type of

                       document (i.e., whether it is a letter, memorandum, drawing, etc.),

                       electronically stored information, or thing;

               d.      the document’s date or the electronically stored information’s or thing’s

                       date of creation;

               e.      the name and title of the author(s) or creator(s);

               f.      the name and title of the sender(s) of the document or electronically stored

                       information if different from the author(s) or creator(s);

               g.      the name and title of the person(s) to whom the document or electronically

                       stored information is addressed or to whom the thing has been provided,

                       including all person(s) who received copies, photographs, or other

                       representations of the document or electronically stored information or

                       thing;



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                h.     the past and current location of all copies of the document or electronically

                       stored information or thing;

                i.     the request or subpart to which the document or electronically stored

                       information, withheld information, or thing is otherwise responsive; and

                j.     the type of privilege claimed (attorney-client communications, attorney

                       work product) and the factual and legal basis supporting the claim of

                       privilege.

          8.    These Requests require the production of documents, electronically stored

information, and things either in the same form and same order as they are kept in the usual course

of business or organized and labeled to correspond with the particular requests set forth below. If

you choose the former method, the documents, electronically stored information, and things are to

be produced in the boxes, file folders, bindings or other containers in which the documents,

electronically stored information, and things are kept in the usual course of business. The titles,

labels, or other descriptions on the boxes, file folders, bindings or other containers are to be left

intact.

          9.    These Requests shall be deemed continuing so as to require further and

supplemental production in accordance with Fed. R. Civ. P. 26.

          10.   If any document or electronically stored information or thing is not produced on

the ground that such document or electronically stored information or thing is no longer in

Defendants’ possession, custody, or control, identify each such document or electronically stored

information or thing and specify:

                a.     the document’s date or the electronically stored information’s or thing’s

                       date of creation;



                                                 7
               b.      a brief description of the nature and subject matter of the document or

                       electronically stored information or thing, including the title and type of

                       document (i.e., whether it is a letter, memorandum, drawing, etc.) or

                       electronically stored information or thing;

               c.      the name and title of the author(s) or creator(s), the sender(s), the

                       addressee(s) and the recipient(s) of the document or electronically stored

                       information or thing;

               d.      the name and title of all person(s) who possessed or controlled the

                       document, electronically stored information, or thing;

               e.      the name and title of the person(s) most knowledgeable about the document

                       or electronically stored information or thing;

               f.      the past and current location of all copies of the document or electronically

                       stored information or thing; and

               g.      the name and title of the person(s) responsible for its destruction, loss,

                       transfer, or other act or omission by which the document or electronically

                       stored information or thing left Defendants’ possession, custody or control,

                       and the date of such act.

       11.     Any copy of a document or electronically stored information or thing other than the

exact duplicate of that document or electronically stored information is a separate document or

electronically stored information or thing.

       12.     Whenever such construction will serve to bring within the scope of these requests

some documents, electronically stored information, or things that would otherwise not be brought

within its scope, “any” or “each” should be understood to include and encompass “all;” “or” should



                                                   8
be understood to include and encompass “and;” “and” should be understood to include and

encompass “or;” “including” should be understood to mean including but not limited to; the

singular of a word should be understood to include and encompass the plural of the word, and vice

versa; and the past tense of a verb shall be understood to include the present tense, and vice versa.

        13.     Where an objection is made to a request, state all grounds upon which the objection

is based, along with a citation of any legal authority relied upon.

        14.     Ordering and numbering of documents, electronically stored information and things

shall be performed in such a manner as to ensure that the source of each document, electronically

stored information and thing may be determined.

        15.     Electronically stored information shall be produced in a form or forms in which it

is ordinarily maintained or in a form or forms that are reasonably usable by Plaintiff.

        16.     “Communication” shall include all exchanges of information, written or oral,

including without limitation, memoranda, telephone conversations, electronic mail, computer

discs, documents, and telegrams.

        17.     “Document” is defined broadly to be given the full scope of that term contemplated

in Fed. R. Civ. P. 34, and includes all tangible things, all originals (or, if originals are not available,

identical copies thereof), all non-identical copies of a document, all drafts of final documents, all

other written, printed, or recorded matter of any kind, and all other data compilations from which

information can be obtained and translated if necessary, that are or have been in your actual or

constructive possession or control, regardless of the medium on which they are produced,

reproduced, or stored (including without limitation computer programs and files containing

requested information), and any recording or writing, as these terms are defined in Rule 1001,

Federal Rules of Evidence. Any document bearing marks, including without limitation, initials,



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stamped initials, comments, or notations not a part of the original text or photographic reproduction

thereof, is a separate document.

       18.     “Document” shall also include, without limitation, the following items, whether

printed or reproduced by any process, or written or produced by hand or stored electronically in

computer memory, magnetic or hard disk, or other storage medium, and whether or not claimed to

be privileged, confidential, or otherwise excludable from discovery: any record of all or any

portions of any discussion, communication, agreement, conversation, interview, meeting,

conference, conclusion, fact, impression, occurrence, opinion, report, or other similar matter, and

shall include, without limitation, letters, correspondence, communications, emails, telegrams,

papers, cablegrams, mailgrams, notes, memoranda, summaries, abstracts, worksheets, books,

manuals, publications, engineering reports and notebooks, schematics, engineering drawings,

software source code listings, charts, plans, databases, diagrams, sketches or drawings,

photographs, reports and/or summaries of investigations and/or surveys, opinions and reports of

committee meetings, desk calendars, appointment books, diaries, diary entries, voicemails,

newspapers, magazine or periodical articles, and any other record of any kind.

       19.     The term “identify,” when used in reference to:

               a.      an individual shall mean to state his or her full name, present or last known

                       residence address, present or last known business address, and position or

                       business affiliation;

               b.      a business entity shall mean to state its form, full name, address of its

                       present or last principal place of business, and its principal line of business;

               c.      a document shall mean to provide information sufficient to locate that

                       document, including, but not limited to, the following: the production



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                       number range (Bates range), the date appearing on such document or, if no

                       date appears thereon, the approximate date the document was prepared; the

                       identifying code number, file number, title or label of such document; a

                       general description of such document (e.g., letter, memorandum, drawing);

                       the title or heading; the number of pages of which such document consists;

                       the name of each person who signed, authored, or authorized the document;

                       the name of each addressee; the name of each person having possession,

                       custody, or control of such document; if the document existed at one time

                       for does not presently exist, the reason(s) why it no longer exists and the

                       identity of the last person having custody of it; and if the document is in a

                       foreign language, whether an English translation of the document exists,

                       whether partial or complete; and

               d.      a communication shall mean to state its date, the communicator, the

                       communicatee, the type of communication (i.e. conversation, telephone

                       call, letter, note, etc.) and a brief description of its subject matter.

       20.      “Person” shall mean individuals or entities of any type, including without

limitation, individuals, governments (or any agencies thereof), quasi-public entities, corporations,

partnerships, limited liability companies, groups, trusts, mutual or joint ventures, and other forms

of organizations or associations.

       21.     “Date” shall mean the exact date, month and year or, if not ascertainable, the best

approximation thereof.

       22.     The phrase “relating to”, “related to”, or “relate(s) to” means and includes

concerning, reflecting, alluding to, mentioning, regarding, discussing, bearing upon, commenting



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on, constituting, pertaining to, demonstrating, describing, depicting, referring to, summarizing,

containing, embodying, showing, comprising, evidencing, refuting, contradicting, and/or

supporting.

        23.     As used herein, “Plaintiff” shall mean, unless otherwise indicated, Fitness

Anywhere LLC, any of Plaintiff’s officers, directors, employees, agents and representatives, and

all persons acting on Plaintiff’s behalf.

        24.     As used herein, “Defendants’ Internet Stores” shall be deemed to include the online

marketplaces listed in Paragraph 1.

        25.     As used herein, “Defendant” or “Defendants” or “You” or “Your” or “Yourself”

shall be deemed to include the named owner(s) and/or operator(s) of Defendants’ Internet Stores

and Defendants’ Financial Accounts, and (a) its present or former directors, officers, employees,

agents, representatives, accountants, investigators, consultants, contractors, attorneys, and

predecessors or successors in interest and any parent, subsidiary, or affiliated entities; (b) any other

person acting on Defendants’ behalf or on whose behalf Defendants acted; and (c) any other person

otherwise controlled by Defendants, or which controls Defendants, or which is under common

control with Defendant.

        26.     As used herein, “Financial Accounts” shall be deemed to include any accounts

 relating to any banks, savings and loan associations, payment processors or other financial

 institutions, including, without limitation, Alipay, Western Union, PayPal, Inc. (“PayPal”), or

 other merchant account providers, payment providers, third party payment processors, and credit

 card associations (e.g., MasterCard and Visa Inc.) which receive payments or hold assets for

 Defendant.

        27.     As used herein, “Used” shall mean registered, owned, and/or operated.



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       28.        “Lawsuit” or “Litigation” shall mean the lawsuit captioned Fitness Anywhere LLC

v. The Partnerships, et al., Case No. 19-cv-4155, filed on June 20, 2019, in the U.S. District Court

for the Northern District of Illinois.

       29.        “Complaint” shall mean the Complaint and Amended Complaint filed by Plaintiff

in the Lawsuit.

       30.        As used herein, the “TRX Design” shall collectively refer to Plaintiff’s registered

patented design as shown in the Lawsuit Complaint.

       31.        As used herein, “Plaintiff’s Products” shall mean any product offered for sale or

sold using, relating to, featuring or bearing the TRX Design and/or designs identical with, or

substantially similar to, the TRX Design as defined in Paragraph 30.

       32.        As used herein, “Infringing Products” shall mean products offered for sale or sold

using, relating to, featuring or bearing a third-party patented design on the product regardless of

when it became known or was alleged You were using a third-party patented design.

       33.        The singular form of a word should be interpreted in the plural as well. Any pronoun

shall be construed to refer to the masculine, feminine, or neuter gender as in each case is most

appropriate. The words “and” and “or” shall be construed conjunctively or disjunctively,

whichever makes the request most inclusive.




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Dated this 11th day of September 2019.   Respectfully submitted,


                                         /s/ Justin R. Gaudio
                                         Paul G. Juettner
                                         Justin R. Gaudio
                                         RiKaleigh C. Johnson
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                                         rjohnson@gbc.law

                                         Counsel for Plaintiff Fitness Anywhere LLC




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 11th day of September 2019, a copy of the foregoing was served

via electronic mail on the e-mail addresses identified in Exhibit 2 to the Declaration of Marisa

Christie and any e-mail addresses provided for Defendants by third parties.

                                             /s/ Justin R. Gaudio
                                             Paul G. Juettner
                                             Justin R. Gaudio
                                             RiKaleigh C. Johnson
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                                             Counsel for Plaintiff Fitness Anywhere LLC




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